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806 Mariner’s Plaga Drive, Ste. $27
Mandeville, LA 70448
985-778-2016 (Main Office}

Maya Coastal CiaimseGreup con:

January 7, 2013

Jonathan B. Andry, Esq.
Andry Lerner, LLC
610 Baronne Street
New Orleans, LA 70113

Re: Casey Thonn, Claimant ID No. 100051739
Boat Captain Claim ID No. 19691

Dear Mr. Andry:

Per your request, we have reviewed the Post-Reconsideration Eligibility Notice for the
above referenced claim, We have found that the Claims Center has incorrectly calculated this
loss for the following reasons:

1. The adjuster incorrectly calculated a Shrimp Cost Percentage resulting ina lowek Base Loss
even sthough this claim was based on Tax Retum information, ds ‘per the Settlement .
Agreement (relevant Pages Attached for your review).

2. They also incorrectly calculated the Base Compensation for this claim as the Base
Compensation was supposed to equal the Base Loss.

{ have attached our revised calculations based upon the terms of the Settlement Agreement.

Mr. Thonn’s Boat Captain Claim should have results in a Final Compensation Amount of

$648,648. If you have any additional questions, please let me know.

With kindest personal regards, I remain

Very truly yours,
Leslie M, Butler
Leslie M. Butler
Director of Operations
{bt
Enclosure

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Historical Shrimp - Casey Thonn
Claimant 1D No, 100051739, Claim No. 19694.

Vessel Size

45-74 feet (ice}
45-74 feet (Freezer)
75+ feet (lee)

75+ feet (Freezer)

RTP

1 Gross Revenue Benchmark Peried
Additional Cateh Factor

2 Additional Catch Adjusted
Adjustment for change in prices 10-11

3 Total adjusted Benchmark Revenue

4 Benchmark shrimp cost

5 Base Shrimp Loss

6 Base compensation
RTP

? Final compensation

Additional Shrimp
Catch Cost
Factor Percentage

Vessel Owner!
Commercial
Fisherman Vesset
Lessee
Share

Boat
Captain
Shara

Page 2 of 2

i86)000;

Averages Averages

2007-2009 2008-2009 2009) 2007-2009 ©2008-2009 2009
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